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John E. Mitchell (Admitted Pro Hac)                            Andrea S. Hartley (Admitted Pro Hac)
Yelena Archiyan (Admitted in New York)                         Joanne Gelfand (Admitted in New York)
AKERMAN LLP                                                    Katherine C. Fackler (Admitted Pro Hac)
2001 Ross Avenue, Ste. 3600
Dallas, TX 75201                                               AKERMAN LLP
Tel.: (214) 720-4300                                           98 Southeast Seventh Street, Ste. 1100
Fax: (214) 981-9339                                            Miami, FL 33131
                                                               Tel.: (305) 374-5600
                                                               Fax: (305) 374-5095
Counsel for Debtors and Debtors in Possession

Michael Luskin
Alex Talesnick
Stephan E. Hornung
LUSKIN, STERN & EISLER LLP
Eleven Times Square
New York, New York 10036
Tel.: (212) 597-8200
Fax: (212) 974-3205

Counsel for the Senior Lenders

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  )           Chapter 11
                                                        )
MIAMI METALS I, INC., et al.,1                          )           Case No. 18-13359 (SHL)
                                                        )
                              Debtors.                  )           (Jointly Administered)
                                                        )

                      DEBTORS' AND THE SENIOR LENDERS'
             JOINT MEMORANDUM OF LAW IN SUPPORT OF JOINT MOTION
               FOR SUMMARY JUDGMENT AS TO BUCKET 1 CUSTOMERS



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206
and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th
Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company, LLC), 5295 Northwest
163rd Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th
Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami,
FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (1507);
Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami Metals VIII (f/k/a
Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102); Republic Metals Trading
(Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639); and Republic Trans
Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central, Delegación
Cuauhtémoc, Mexico DF 6000 (2942).




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           Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation) and its affiliated debtors

and debtors-in-possession (collectively, the "Debtors") in the above-captioned chapter 11 cases

and Coöperatieve Rabobank U.A., New York Branch ("Rabobank"), Brown Brothers Harriman &

Co. ("BBH"), Bank Hapoalim B.M. ("Hapoalim"), Mitsubishi International Corporation

("Mitsubishi"), ICBC Standard Bank Plc ("ICBCS"), Techemet Metal Trading LLC ("Techemet"),

Woodforest National Bank ("Woodforest") and Bank Leumi USA ("Leumi" and, together with

Rabobank, BBH, Hapoalim, Mitsubishi, ICBCS, Techemet and Woodforest, the "Senior Lenders")

submit this joint memorandum of law in support of their joint motion for summary judgment (the

"Motion") in connection with 25 Customer Statements (the "Bucket 1 Claims") filed by 26

customers (the "Bucket 1 Customers")2 pursuant to the Court's Order Approving Uniform

Procedures for Resolution of Ownership Disputes (as amended, the "Uniform Procedures Order")3

[ECF. No. 913].

                                       PRELIMINARY STATEMENT

           Each Bucket 1 Customer asserts an ownership interest in estate property based on primarily

bailment and alternative equitable theories. The reality is simple: Prior to the Petition Date, each

Bucket 1 Customer sold raw materials to the Debtors pursuant to the Debtors' Standard Terms and

General Operating Conditions (the "Standard Terms").4 The Debtors failed to pay the Bucket 1

Customers, leaving those customers with general unsecured claims against the Debtors' estates.



2
    Bucket 1 Customers Brilliant Jewelers / MJJ Inc. and Anjay Corp. filed one joint Customer Statement.
3
 All capitalized terms used but not defined herein have the meaning ascribed to such terms in the Uniform Procedures
Order.
4
  The Standard Terms refer to the Standard Terms of RMC ("RMC Standard Terms") and the Standard Terms of RMC2
("RMC2 Standard Terms"). Both versions were available on the Debtors' website until the sale of substantially all of
the Debtors' assets to Asahi and the closing of the website. All references to the Debtors' Standard Terms are to the
RMC most recent Standard Terms, which are attached as Exhibit B to the Declaration of Scott Avila, as Chief
Restructuring Officer, in Support of Joint Motion for Summary Judgment (the "Avila Declaration" or "Avila Decl.").
A copy of the RMC2 Standard Terms is attached the Avila Declaration as Exhibit C.

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Unhappy with their status as general unsecured creditors, the Bucket 1 Customers objected to the

Debtors' Cash Collateral Motion (as defined below), contending that title to the raw materials

delivered to the Debtors never passed to the Debtors. The Bucket 1 Customers argue that the

Debtors held only naked possession of the raw materials delivered to them and that the raw

materials, therefore, are not property of the Debtors' estates. This argument fails as a matter of law.

         The Standard Terms clearly and unambiguously provide for the purchase and sale of goods,

transactions which are governed by Article 2 of the Uniform Commercial Code (the "UCC").

Pursuant to Section 2-401 of the UCC, title to the raw materials sold by the Bucket 1 Customers

to the Debtors transferred to the Debtors upon delivery of the raw materials to the Debtors' refinery.

Hoping to skirt the express provisions of the Standard Terms and the UCC, the Bucket 1 Customers

attempt to manufacture a bailment relationship with the Debtors, urging the Court to glean the

parties' intent from inadmissible extrinsic evidence even though the Standard Terms clearly and

unambiguously demonstrate the parties' intent to enter into a purchase and sale relationship.

Critically, the Bucket 1 Customers cannot demonstrate the sine qua non of any bailment: That the

Debtors were obligated to return the identical raw materials delivered to the Debtors by the Bucket

1 Customers back to them in the same or some altered form.

         The Standard Terms are clear on their face and show that the raw materials delivered to the

Debtors by the Bucket 1 Customers for refining would not be returned to the Bucket 1 Customers.

Rather, the Bucket 1 Customers could elect that the Debtors pay for the raw materials in either

cash, a credit to the customer's "Loco London" metal account, a credit to the Bucket 1 Customer's

toll or pool account maintained by the Debtors, or in rare instances, the return of refined metal. If

a Bucket 1 Customer elected the return of refined metals, the Standard Terms unambiguously

provide that because refined metals are "fungible," the returned metals will be "like kind" or



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"equivalent." As disclosed in the Standard Terms, the election of a credit to a toll or pool account

was merely a ledger entry made by the Debtors that created a balance due to the customer.

         The raw materials delivered by the Bucket 1 Customers and other customers to the Debtors

are not identical or fungible. The raw materials, generally consisting of scrap and doré, came from

different sources and contained different amounts of gold, silver, and other metals that had to be

assayed. The materials were commingled shortly after delivery with raw materials delivered by

other customers, thereby becoming unidentifiable. The commingled materials were thereafter

further commingled during the refining process with other residual materials in the refining

equipment. During the refining process, the commingled materials were dissolved, treated,

filtered, dried, and then melted into bars, grains or ingots which could not be traced to a particular

customer. To the extent any Bucket 1 Customer ever elected payment in the form of a return of

metals, they did not receive back their raw materials in the same or an altered form. The Bucket

1 Customers received refined metals produced from the commingled lots of the raw materials and

the residual materials in the equipment at the start of the process. Notably, the Debtors, for an

extra fee, offered their refining customers the "Peace of Mined" program ensuring that the

customers' materials were segregated, separately refined, and would remain segregated and

identifiable throughout the refining process. None of the Bucket 1 Customers elected to pay the

additional fees for the Peace of Mined program.

         Title to the Disputed Assets passed to the Debtors prepetition upon delivery of the raw

materials by the Bucket 1 Customers to the Debtors. There are no material facts in dispute, and

the Debtors and the Senior Lenders are entitled to summary judgment as a matter of law

determining that the Disputed Assets belong to the Debtors' bankruptcy estates and dismissing the

Bucket 1 Customer Claims with prejudice.



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                                  FACTUAL BACKGROUND

    A. The Chapter 11 Cases

         Each of the Debtors filed a voluntary petition for relief under chapter 11 of the United

States Bankruptcy Code (the "Bankruptcy Code") on November 2, 2018 or November 21, 2018

(together with the November 2, 2018 date, the "Petition Date").

         On November 19, 2018, the Office of the United States Trustee for the Southern District

of New York appointed the Official Committee of Unsecured Creditors in these cases (the

"Committee") [ECF No. 113].

         On March 7, 2019, the Debtors consummated the sale of substantially all of their assets to

Asahi Holdings, Inc. ("Asahi") [ECF No. 713]. The Debtors are winding down and liquidating

their remaining properties and assets as debtors-in-possession pursuant to sections 1107 and 1108

of the Bankruptcy Code. [ECF Nos. 219, 286, 358, and 563]. No trustee or examiner has been

appointed in the chapter 11 cases.

    B. The Senior Lenders' Relationship with the Debtors

         As of the Petition Date, the Senior Lenders were collectively owed (and continue to be

owed) more than $177 million by the Debtors under certain credit agreements, master netting

agreements, and lease agreements (collectively, the "Credit and Lease Agreements"). First Interim

Order (as defined below), ECF No. 54 at Schedule 2. The obligations under the Credit and Lease

Agreements are secured by valid and perfected liens on substantially all of certain Debtors' assets,

including such Debtors' inventory and the proceeds thereof. Id. at ¶ F(vi).

         The Senior Lenders are party to a certain Second Amended and Restated Intercreditor

Agreement, dated as of February 19, 2016 (as amended from time to time, the "Intercreditor

Agreement"), which governs the respective rights and interests of the Senior Lenders in the assets

of RMC. Id. at ¶ F(iii) . RMC executed the Intercreditor Agreement. Id.

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    C. The Cash Collateral Motion, the Interim Cash Collateral Orders and the Ownership
       Dispute

         On the Petition Date, the Debtors filed the Motion For Entry of Interim and Final Orders

(I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the

Secured Parties, (III) Scheduling a Final Hearing and (IV) Granting Related Relief (the "Initial

Cash Collateral Motion") [ECF No. 10].

         The Court heard oral argument on the Initial Cash Collateral Motion at the first day hearing

on November 6, 2018 (the "First Day Hearing"). Following argument, the Court approved the

Initial Cash Collateral Motion on the record on an interim basis, subject to certain requested

modifications.

         On November 8, 2018, the Court entered its Interim Order Pursuant to 11 U.S.C. §§ 105,

361, 362, 363, 503 and 507 (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting

Adequate Protection to the Secured Parties, (III) Scheduling a Final Hearing and (IV) Granting

Related Relief (the "First Interim Order") [ECF No. 54].

         Pursuant to the First Interim Order, among other things, the Senior Lenders consented to

the Debtors' use of their cash collateral to fund the costs and expenses of administering the chapter

11 cases, and the Senior Lenders were granted superpriority claims and adequate protection liens

on substantially all of the Debtors' assets to protect against any diminution in value of their

collateral. Id. at ¶ 8(b).

         An integral part of the Initial Cash Collateral Motion and the Senior Lenders' consent to

the use of their collateral was the Debtors' proposed payment to the Senior Lenders of the cash

proceeds from the sale of the Debtors' inventory as adequate protection (the "Inventory

Payments"). See id. at ¶ 8(e). At the First Day Hearing, the Court requested that the Debtors

supplement the Initial Cash Collateral Motion to explain the basis for the Inventory Payments and


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give all parties in interest specific notice of the provision.

         On November 13, 2018, the Debtors and the Senior Lenders filed the Joint Supplement of

the Debtors and the Senior Lenders to the Cash Collateral Motion (together with the Initial Cash

Collateral Motion, the "Cash Collateral Motion") [ECF No. 78].

         Numerous customers objected to the Cash Collateral Motion and the Inventory Payments

on the basis that the Debtors' inventory and its cash proceeds were property of the Customers rather

than property of the bankruptcy estates, giving rise to the current disputes concerning the

ownership of the Disputed Assets (the "Ownership Disputes"). Following extensive negotiations

among the Debtors, the Senior Lenders, and the Customers, the Court entered the Uniform

Procedures Order establishing a uniform procedure to resolve the Ownership Disputes.

         The Court subsequently entered six additional interim cash collateral orders [ECF Nos.

277, 373, 538, 675 and 864] (collectively, the "Interim Cash Collateral Orders").

    D. The Debtors' Refining Process

         Prior to the Petition Date, the Debtors refined precious metals, primarily gold and silver.

Avila Decl. ¶ 5. Customers from all over the United States and the Western Hemisphere shipped

unrefined material, primarily containing gold and silver, to the Debtors for refining. Id. The

Debtors refined this material and produced refined silver and gold bars and casting grains. Based

on demand, the refined gold and silver was either sold or sent to the mint for the production of

"value added" minted and casted products of various designs and sizes. Id.

         Following the final assays for the raw materials delivered to the Debtors, the precious metal

content of each shipment was finalized. Remaining balances known as "pool balances" were paid

to customers on an agreed upon settlement date or when the customer requested payment. Id. at

¶ 6. The customers, including Bucket 1 Customers, could elect that the Debtors make payment for

raw materials either by check or wire transfer or the issuance of a "metal credit" to the customer's

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designated "Loco London" metal account, less, in each case, applicable refining and/or retention

charges. Id. The customers could also request payment in the form of refined metal of like kind

and quantity. Customers could request an "advance" payment on a shipment. The Debtors

typically paid advances in an amount equal to approximately 95% to 98% of the estimated metal

value of the applicable shipment in one or more payments of metal credits or U.S. dollars, less

refining and/or retention charges. Id.

         After raw materials were received by the Debtors, they were assigned lot numbers,

weighed, melted, sampled for assay testing, and put into the refining process, generally on the

same day. Id. at ¶ 7. With the exception of Peace of MinedTM customers (discussed below), during

the refining process the individual customer lots were commingled with other customer lots.

During the refining process the commingled lots were further commingled with "clean up bars"

(i.e., residual material that comes out of the refining process) to create "house bars," which were

then put through various additional refining processes, including the dissolving of the material. Id.

The dissolve process was a procedure by which material was dissolved in acid to create a solution,

analogous to dissolving sugar in hot water (the "Dissolution Process"). Id. The refining process

produced metal billets, bars, and sacks of grain that each weighed approximately fifty pounds (the

"Refined Product"). The Refined Product was then transferred to the vault and then sold or

transferred to the mint for the production of various minted products, coins, cast bars, etc. (the

"Minted Products"). Id.

         The Debtors could not identify the raw materials delivered by customers after they were

commingled with other lots for refining and during and after the Dissolution Process. Nor, could

the Debtors identify what raw materials or lots were included in Refined Product or Minted

Product. Id. at ¶ 8.



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         As advertised on the Debtors' website, the Debtors offered a "Peace of Mined" service to

Customers for traceable closed-circuit single-batch refining at an additional cost. Avila Decl. ¶ 9.5

Customers paying for the Peace of Mined service could ensure that their metals were never

commingled at any point during the refining process. Id. The Peace of Mined Terms provide, in

pertinent part:

         In order to create a 100% traceable product, Republic Metals' Peace of Mined™
         refining circuit uses a proprietary process that allows for batch refining. Unlike
         electrolytic refining, batch refining allows for material to freshly enter a clean
         circuit during the refining process, and at no point come in contact with any other-
         sourced metal. In the Peace of MinedTM refining circuit, the designated material is
         the only material present, and all of that material is removed at termination of the
         process, so there are no leftovers in the circuit−it can in no way be commingled
         with metal originating from other sources.

Avila Decl. at Ex. A.

         No Bucket 1 Customer that filed a Customer Statement paid for the Peace of Mined service.

Id. at ¶ 10. Accordingly, no Bucket 1 Customer received back, or was entitled to receive back, the

identical raw material that it delivered to the Debtors for refining as a finished product.

         The Bucket 1 Customers knew this fact—as plainly stated in the Standard Terms:

                  Precious metals are fungible; therefore any unit of material is equivalent to
                  another of like kind, i.e. similar quality and/or value, and is deemed
                  adequate payment for purposes of outstanding Pool Accounts. Returnable
                  metal represented in a Customer Pool Account does not pertain to
                  specific, segregated, or identifiable metal; rather it represents a future
                  obligation of RMC to return common inventory of gold, silver, platinum,
                  palladium, or platinum group metals. RMC reserves the right to return
                  precious metals to Customer of like kind representing the ounces of precious
                  metals owed to Customer.

RMC Standard Terms at 3, Avila Decl. at Ex. B (emphasis added).

         Bucket 1 Customers were generally required to execute the Debtors' Standard Terms as



5
  Following the closing of the sale of substantially all of the Debtors' assets to Asahi, the former RMC website is no
longer available. A copy of the Peace of Mined Terms is attached to the Avila Declaration as Exhibit A.

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part of the Debtors' new customer onboarding process. Avila Decl. at ¶ 11. However, the failure

to execute the Standard Terms does not make them inapplicable. The Standard Terms provide that

"[d]elivering material or doing business with RMC after having received the Standard Terms . . .

deems that I have agreed to accept the Terms and General Conditions contained herein regardless

of whether I have signed [the Standard Terms]." RMC Standard Terms at 4, Avila Decl. at Ex. B.6

            As set forth in a schedule attached to the Avila Declaration as Exhibit E, 16 of the 267

Bucket 1 Customers executed the RMC Standard Terms. Six Bucket 1 Customers executed RMC2

Standard Terms.8 True and correct copies of the governing Standard Terms executed by the Bucket

1 Customers are attached to the Avila Declaration as Composite Exhibit D.9 A schedule listing the

version (RMC Standard Terms or RMC2 Standard Terms) executed by Bucket 1 Customers is

attached to the Avila Declaration as Exhibit E. The Debtors have been unable to locate executed

copies of the Standard Terms in their files for the remaining four Bucket 1 Customers, and to date,

those customers have not produced executed copies of the Standard Terms.10 However, every

metal report, invoice, sale/purchase order and other transaction confirmation issued by the Debtors

to the Customers (including the four for whom no executed terms can be located at this time) in

the ordinary course of business expressly provided that it was subject to the Standard Terms and

included a reference to the versions posted on the Debtors' website. Avila Decl. ¶ 13. No Bucket


6
    The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 13.

7
     San Diego Gold Exchange, Inc.'s Bucket 1 Claim is subject to a settlement pending Court approval.

8
 See ECF Nos. 465 (7645635 Canada Inc. o/a Ottawa Gold Buyer); 475 (Deb Schott, Inc.); 396 (Design Gold Group,
Inc.); 449 (Midwest Refineries, LLC); 479 (PPS, Inc. d/b/a Braswell & Son); and 466 (The Gold Refinery, LLC /
Norman Bean).
9
 The Debtors have only signature pages of the Standard Terms for the following Bucket 1 Customers: Anjay Corp.
(ECF No. 463); Cyber-Fox Trading, Inc. (ECF No. 441); Eddie & Co. of NY, Inc. d/b/a Diamond Kingdom (ECF
No. 458); and Mid-States Recycling, Inc. (ECF No. 476). The Debtors have an incomplete, but initialed copy of the
Standard Terms for Bucket 1 Customer FCP Diamonds, LLC (ECF No. 474).
10
     A list of those customers is attached to the Avila Declaration as Exhibit F.

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1 Customer disputes this or argues that it is party to any other contractual agreement with a Debtor.

                                 JURISDICTION AND VENUE

         This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the Southern

District of New York, dated January 31, 2012 and the Uniform Procedures Order. Venue is proper

in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         This is a core proceeding pursuant to 28 U.S.C. § 157(b).

         The Debtors and the Senior Lenders confirm their consent, pursuant to Bankruptcy Rule

7008, to the entry of a final order by the Court in connection with this Joint Memorandum of Law

to the extent that it is later determined that the Court, absent consent of the parties, cannot enter

final orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

                      LEGAL STANDARD, GOVERNING LAW AND
                     PRINCIPLES OF CONTRACT INTERPRETATION

         A.     Summary Judgment Standard

         Pursuant to Rule 56 of the Federal Rules of Civil Procedure, made applicable to this

contested matter pursuant to Rules 7056 and 9014 of the Federal Rules of Bankruptcy Procedure,

a court must grant summary judgment "if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a);

see Fed. R. Bankr. P. 7056.

         "'Where the record taken as a whole could not lead a rational trier of fact to find for the

nonmoving party,' there is no genuine issue of material fact." TL Admin. Corp v. Ideasphere, Inc.

(In re TL Admin. Corp.), 337 B.R. 827, 829 (Bankr. S.D.N.Y. 2006) (quoting Matsushita Elec.

Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)). "Although all reasonable inferences


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should be drawn in the nonmoving party's favor, to defeat a properly supported motion for

summary judgment the nonmoving party 'must do more than simply show that there is some

metaphysical doubt as to the material facts,' . . . it must present 'significant probative supporting

evidence' that a genuine issue of material fact exists." Id. (internal citations omitted). Furthermore,

"[o]nly disputes over facts that might affect the outcome of the suit under the governing law will

properly preclude the entry of summary judgment." Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986). Factual disputes over irrelevant or unnecessary facts are insufficient to warrant

denial of a summary judgment motion. Id.

       B. Governing Law

           Whether assets belong to the Debtors' bankruptcy estates under section 541 of the

Bankruptcy Code is determined by applicable state law. Kraken Inv. Ltd. v. Jacobs (In re Salander-

O'Reilly Galleries, LLC), 475 B.R. 9, 21−22 (S.D.N.Y. 2012) (internal citations and quotation

marks omitted). Bankruptcy Courts, like federal district courts hearing diversity cases, look to the

choice of law rules of the state in which they sit. Bianco v. Erkins (In re Gaston & Snow), 243

F.3d 599, 605 (2d Cir. 2001).

           The Debtors and Senior Lenders contend that Florida law governs the Ownership Disputes

because Florida has the most significant relationship to the issues and parties. Eighteen of the 26

Bucket 1 Customers concede that Florida law governs these Ownership Disputes.11 One of the

Bucket 1 Customers contends that either Florida or New York law applies.12 Two of the Bucket


11
  See ECF Nos. 396 (Design Gold Group, Inc.), 425 (Bay Area Metals), 434 (INTL FCStone Ltd), 441 (Cyber-Fox
Trading, Inc.), 444 (Geib Refining Corp.), 445 (Music City Group, LLC), 449 (Midwest Refineries, LLC), 466 (The
Gold Refinery, LLC / Norman Bean), 468 (Mitchell Levine (Plat/Co.)), 474 (FCP Diamonds, LLC), 475 (Deb Schott,
Inc.), 476 (Mid-States Recycling, Inc.), 477 (General Refining and Smelting Corp. ), 478 (Alex Morningstar Corp.
d/b/a Morningstar's), 479 (PPS, Inc. d/b/a Braswell & Son), 481 (Noble Metal Services, Inc.), 584 (San Diego Gold
Exchange, Inc.), and 832 (Auris Noble, LLC).

12
     See ECF No. 456. (So Accurate Group, Inc.)



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1 Customers contend that New York law governs.13 Finally, one of the Bucket 1 Customers posits

that either United States or Canada law may govern, but the Customer makes no attempt to

articulate the applicable Canadian law or the basis for its application to the Ownership Disputes.14

The same Bucket One Customer concedes that if U.S. law applies, then Florida or New York law

would likely govern.15 The four remaining Bucket 1 Customers are silent as to applicable law.16

           The outcome of these Ownership Disputes will be the same under both Florida and New

York law eliminating the need for the Court to perform any choice of law analysis. Citations to

the harmonious laws of Florida and New York are included below in the argument section.

       C. Contract Interpretation Principles

           A written agreement that is clear and unambiguous on its face must be enforced according

to its terms. Gibney v. Pillifant, 32 So. 3d 784, 785 (Fla. 2d DCA 2010) ("[T]he actual language

used in the contract is the best evidence of the intent of the parties, and the plain meaning of that

language controls." (internal quotation marks omitted)); Greenfield v. Philles Records, 98 N.Y.2d

562, 569 (2002) ("[A] written agreement that is complete, clear and unambiguous on its face must

be enforced according to the plain meaning of its terms").

           Where a contract is unambiguous the intent of the parties must be gleaned from "the four

corners of the document." Landmark Am. Ins. Co. v. Pin-Pon Corp., 155 So. 3d 432, 437 (Fla. 4th

DCA 2015) (citation omitted); De Luca v. De Luca, 300 A.D.2d 342, 342 (2d Dep't 2002). A



13
 See ECF Nos. 458 (Eddie & Co. of NY, Inc. d/b/a Diamond Kingdom) and 463 (Brilliant Jewelers / MJJ Inc. (Anjay
Corp.).

14
     See ECF No. 465 (7645635 Canada Inc. o/a Ottawa Gold Buyer).
15
  Id. If necessary, the Debtors and Senior Lenders will address the application of Canadian law in their reply and
they reserve the right to show that U.S. law governs the dispute with this Bucket One Customer.
16
     ECF Nos. 411(Pyropure, Inc. d/b/a Pyromet) and 452 (Texas EZPAWN, L.P.).



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written document intended by the parties to be the final embodiment of their agreement may not

be contradicted, modified, or varied by extrinsic evidence. King v. Bray, 867 So. 2d 1224, 1226

(Fla. 5th DCA 2004); Schron v. Troutman Sanders LLP, 986 N.E.2d 430, 436 (N.Y. 2013);

W.W.W. Assocs. v. Giancontieri, 77 N.Y.2d 157, 163 (1990) (holding that extrinsic evidence

should not "be considered in order to create an ambiguity in the agreement.").

         It is black letter law that Courts must "read provisions of a contract harmoniously in order

to give effect to all portions thereof." City of Homestead v. Johnson, 760 So. 2d 80, 84 (Fla. 2000);

see Katel Ltd. Liab. Co. v. AT & T Corp., 607 F.3d 60, 64 (2d Cir. 2010) (a court must "give full

meaning and effect to all of [the contract's] provisions.").

         When parties to a contract omit terms, particularly terms that are readily found in other,

similar contracts, the maxim expressio unius est exclusion alterius supports the inescapable

conclusion that the parties intended the omission. Shumrak v. Broken Sound Club, Inc., 898 So.2d

1018, 1020 (Fla. Dist. Ct. App. 2005); Quandrant Structured Products Co., Ltd. v. Vertin, 23

N.Y.3d 549, 560 (2014); In re Ore Cargo, Inc., 544 F.2d 80, 82 (2d Cir. 1976) (finding that the

omission of a term by a sophisticated party precludes the court from implying the term from the

general language of the contract).

         Whether an agreement is ambiguous is question of law to be determined by the Court.

Smith v. State Farm Mut. Auto. Ins. Co., 231 So. 2d 193, 194 (Fla. 1970); Greenfield, 98 N.Y.2d

at 569. "A word or phrase in a contract is 'ambiguous' only when it is of uncertain meaning, and

may be fairly understood in more ways than one." Friedman v. Virginia Metal Prods. Corp., 56

So .2d 515, 517 (Sup. Ct. Fla. 1952) (citation omitted); RJE Corp. v. Northville Indus. Corp., 329

F.3d 310, 314 (2d Cir. 2003) (explaining that contract terms are not ambiguous if they "'have a

definite and precise meaning and are not reasonably susceptible to differing interpretations.'"



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(citation omitted)).

                                            ARGUMENT

  I.      THE STANDARD TERMS CLEARLY EVIDENCE THAT THE DISPUTED
          ASSETS ARE PROPERTY OF THE DEBTORS' BANKRUPTCY ESTATES.

       A. The Standard Terms Govern the Debtors' Commercial Relationships
          with the Bucket 1 Customers.

          All but four of the 26 of the Bucket 1 Customers executed the Debtors' Standard Terms

(either the RMC or substantially identical RMC2 version). Although the Debtors have been unable

to locate executed copies of the Standard Terms for these four customers, they are nevertheless

bound by the Debtors' Standard Terms which are incorporated into all invoices, sale/purchase

orders, and other transaction confirmation issued by the Debtors. See, e.g., MetroPCS Communs.,

Inc. v. Porter, No. 3D17-375, 2018 Fla. App. LEXIS 18605, at * 9 (Fla. 3d DCA Dec. 26, 2018)

(holding that purchaser was bound by standard terms where purchaser was on notice of their

existence).

          The Standard Terms make clear that they govern all commercial transactions with the

Debtors. First, the Standard Terms provide in the first paragraph that:

          Unless otherwise stipulated, these Standard Terms and General Operating
          Conditions "Standard Terms" are applicable to transactions and/or contracts
          between Republic Metals Corporation, "RMC", and Customer. "Customer" is
          defined as any business, corporation, company, person, entity, or anyone else
          transacting business with RMC in any manner whatsoever. Any contract or
          agreement entered into between Customer and RMC will operate as if the terms
          represented in these Standard Terms were made expressly a part thereof. RMC's
          Standard Terms is the governing document with respect to any and all business
          dealings between RMC and Customer and shall override any and all provisions,
          terms, and stipulations in Customer purchase orders, sales orders and/or any
          other Customer documents. RMC's failure to object to any terms, provisions,
          and/or stipulations represented in any Customer documents that are at variance with
          RMC's Standard Terms shall not be deemed a waiver of the terms and conditions
          contained herein.




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RMC Standard Terms at 1, Avila Decl. at Ex. B (emphasis added).17

           Second, the Standard Terms provide that "[d]elivering material or doing business with

RMC after having received the Standard Terms . . . deems that I have agreed to accept the Terms

and General Operating Conditions contained herein regardless of whether I have signed [the

Standard Terms]." Id. at 4, Avila Decl. at Ex. B.18

           Third, the Standard Terms contain a broad integration clause showing that the Standard

Terms constitute the entire agreement between the Debtors and the Customers as follows:

           Integration: This instrument contains the entire agreement between the parties
           relating to the rights granted and the obligations assumed, and incorporated all
           representations or modifications concerning this instrument whether arising from
           any usage or trade, course of dealing, accepted industry practice, course of
           performance, evidence of consistent additional terms, or otherwise.

Id. at 4, Avila Decl. at Ex. B.19

           Finally, none of the Bucket 1 Customers contend that their relationship with the Debtors is

governed by any other contract.

       B. The Standard Terms Clearly and Unambiguously Evidence Commercial
          Transactions for the Purchase and Sale of Goods.

             The Standard Terms contain the following complementary provisions that when read

harmoniously, clearly and unambiguously show that the relationship between the Debtors and the

Bucket 1 Customers is as buyer and seller for the purchase and sale of goods:

          Warranty of Title: "Customer warrants to RMC that it has good and marketable title to
           said property, full authority to sell and transfer said property, and that said property is sold
           free of all liens, encumbrances, liabilities, and adverse claims of every nature and




17
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 8.

18
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 13.

19
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 12.



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           description whatsoever." RMC Standard Terms at 1, Avila Decl. at Ex. B (emphasis
           added).20

          Indemnity: "Customer further warrants to RMC that it will fully, defend, protect,
           indemnify, and hold harmless RMC and its lawful successors and assigns from any adverse
           claim thereto." Id., Avila Decl. at Ex. B.21

          Risk of Loss: "Risk of loss of material will pass from Customer to RMC upon delivery to
           and acceptance at RMC's refinery, unless otherwise agreed." Id., Avila Decl. at Ex. B.22

          Refining Charges: "All RMC [refining] charges are payable upon the rendering of an
           invoice. . . . Until such time, RMC shall be deemed to retain title to and a security interest
           in all material covered by any RMC invoice to secure the payment of the same." Id. at 2,
           Avila Decl. at Ex. B (emphasis added).

          RMC Purchases:

               o "Customer warrants that any purchase or sale contract has been effectuated by
                 Customer for the sole purpose of securing pricing for the ultimate sale or purchase
                 of precious metals and has not been made for any speculative reason whatsoever."
                 Id. at 3, Avila Decl. at Ex. B (emphasis added).

               o "By agreeing to the terms and conditions contained herein, and receiving an e-mail
                 confirming the details of Customer's trade, Customer agrees that he has entered
                 into a written, legally binding contract for the sale/purchase of precious metals
                 contained within the confirmation e-mail. Customer further warrants that said
                 contract is in compliance with the Florida Uniform Commercial Code § 672.201,
                 § 668.003 (4) and § 668.004 and agrees to waive any defenses under Florida
                 Uniform Commercial Code § 672.201." Id. at 3-4, Avila Decl. at Ex. B (emphasis
                 added).23

          Parties: "Both Parties agree that they are merchants as defined in the Uniform
           Commercial Code § 2-104(1)." Id. at 4, Avila Decl. at Ex. B (emphasis added).24

           Significantly, when the parties wanted to establish a bailment relationship, they did so

expressly. With respect to consignments (i.e., metals delivered by the Debtors to Customers for



20
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 8.
21
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 8.
22
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 8.
23
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 10.
24
     The RMC2 Standard Terms contain a substantially identical provision. See RMC2 Standard Terms at 12.

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sale to third party buyers), the Standard Terms reserve title in the Debtors. Standard Terms at 3,

Avila Decl. at Ex. B ("It is expressly agreed upon by both parties that any and all material shipped

to   Customer, and/or delivered to         Customer,    and/or released     to   Customer on      a

consignment/bailment basis remains property of RMC . . . . Customer does not have legal title to

such property . . . .") (emphasis added). The failure to include similar title reservations and

bailment language in the other portions of the Standard Terms evidences the intention that these

transactions were sales, not bailments.

         Unsurprisingly, no Bucket 1 Customer has identified a provision in the Standard Terms

supporting its bailment claim.

         Several Bucket 1 Customers rely on the fact that the Debtors maintained "pool accounts"

as evidence that the parties intended to create a bailment. See, e.g., Cyber-Fox Trading, Inc.'s

Customer Statement Concerning Ownership of Pool Account Metal, ECF No. 441 at 5. But the

Standard Terms expressly provide that a pool account is merely a "ledger account representing the

amount of returnable metal owed to Customer." RMC Standard Terms at 3, Avila Decl. at Ex. B.

A positive balance reflects returnable "like kind" metals and a negative balance reflects that the

customer owes metal to RMC. Id. The pool account balances do not represent the earmarking of

any specific metal owned by the Customers any more than a deposit account at a bank represents

specific dollars owned by a depositor. Rather, the pool accounts were used by customers to hedge

on the price of metals and the accounts represent a future payment obligation of the Debtors for

those Customers electing to defer payment on the goods they sold to the Debtors.

         Moreover, as more fully discussed below, the lynchpin and sine qua non of a bailment is

that the identical thing must be returned to the alleged bailor. Here, the Standard Terms expressly

state that the identical thing would not be returned to the customers electing return of metals,



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providing that pool account balances are merely a "ledger" entry and that "[r]eturnable metal

represented in a Customer Pool Account does not pertain to specific, segregated, or identifiable

material; rather, it represents a future obligation of RMC to return common inventory." RMC

Standard Terms at 3, Avila Decl. at Ex. B (emphasis added).

         Other Bucket 1 Customers purport to rely on unidentified extrinsic evidence of "industry

practice and custom," the parties' "custom and practice," and the "circumstances" surrounding their

commercial relationship.25      However, none of this evidence is admissible to explain the

unambiguous Standard Terms. See, e.g., Phila. Am. Life Ins. Co. v. Buckles, 350 F. App'x 376,

380 (11th Cir. 2009) ("We find that the contractual provision at issue is clear and unambiguous.

As a result, we are precluded from considering extrinsic evidence and the course of performance

offered by Buckles.").

         The Standard Terms are clear and plainly show that the Bucket 1 Customers sold raw

materials to the Debtors for refining. The Standard Terms do not demonstrate a bailment or any

obligation of the Debtors to return the raw materials to the Bucket 1 Customers. As shown below,

title to the raw materials passed to the Debtors at the time of delivery.

         C. Title to the Materials Transferred to the Debtors Upon Delivery Pursuant to
         Section 2-401 of the UCC.

         The transactions between the Debtors and the Bucket 1 Customers are governed by Article

2 of the UCC relating to the purchase and sale of goods. Fla. Stat. § 672.102; N.Y. UCC § 2-102.

Under Section 2-401 of the UCC, title to goods passes to the buyer upon delivery of the goods by

the seller to the buyer. Fla. Stat. § 672.401; N.Y. UCC § 2-401. Section 672.401 of the Florida

UCC should be considered in its entirety and provides as follows:

         Each provision of this chapter with regard to the rights, obligations and remedies of the

25
 See, e.g., ECF Nos. 474 (FCP Diamonds, LLC); 475 (Deb Schott, Inc.); 478 (Alex Morningstar Corp. d/b/a
Morningstar's); 479 (PPS, Inc. d/b/a Braswell & Son); and 481 (Noble Metal Services, Inc.).

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         seller, the buyer, purchasers or other third parties applies irrespective of title to the goods
         except where the provision refers to such title. Insofar as situations are not covered by the
         other provisions of this chapter and matters concerning title become material the
         following rules apply:

         (1) Title to goods cannot pass under a contract for sale prior to their identification to the
         contract (s. 672.501), and unless otherwise explicitly agreed the buyer acquires by their
         identification a special property as limited by this code. Any retention or reservation by
         the seller of the title (property) in goods shipped or delivered to the buyer is limited in
         effect to a reservation of a security interest. Subject to these provisions and to the
         provisions of the chapter on secured transactions (chapter 679), title to goods passes from
         the seller to the buyer in any manner and on any conditions explicitly agreed on by the
         parties.

         (2) Unless otherwise explicitly agreed title passes to the buyer at the time and place at
         which the seller completes her or his performance with reference to the physical delivery
         of the goods, despite any reservation of a security interest and even though a document of
         title is to be delivered at a different time or place . . . .

Fla. Stat. § 672.401 (emphasis added); see N.Y. UCC § 2-401.

         The rule that title passes to the buyer upon delivery is unassailable and cannot be negated

by the contracting parties. Section 2-401(1) of the UCC "negates any attempt to forestall passage

of title beyond the moment of final delivery; contract language purporting to do so merely results

in a security interest being retained." In re J. Adrian Sons, Inc., 205 B.R. 24, 26 (Bankr. W.D.N.Y.

1997) (quoting Connecticut Bank & Trust v. Schindelman (In re Bosson), 432 F. Supp. 1013, 1020

n. 24 (D. Conn. 1977)).

         As bankruptcy courts uniformly recognize:

         Section 2-401 pronounces two immutable rules to which every sales agreement is
         subject. The first rule is that title cannot pass until goods are 'identified to the
         contract.' The second rule is that once goods are in the possession of the buyer, any
         reservation of an interest or title by the seller is deemed a security interest. Subject
         to those two rules, the parties may otherwise determine by mutual agreement the
         point in the transaction that title will pass to the buyer. . . . In no event, however,
         may title remain in the seller after the buyer takes possession of the goods (or of a
         'document of title' to the goods, if applicable), regardless of the parties' agreement
         or intent.

Nanak Resorts, Inc. v. Haskins Gas Serv., Inc. (In re Rome Family Corp.), 407 B.R. 65, 76-77


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(Bankr. D. Vt. 2009) (quoting Malloy v. Brazeal (In re Callahan), No. 07-1021, 2007 Bankr.

LEXIS 3548, at *12-13 (Bankr. N.D. Okla. Oct. 11, 2007) (emphasis added); accord In re Aleris

Int'l, Inc., 456 B.R. 35, 41 (Bankr. D. Del. 2011) (finding that "irrespective of any agreement

between the parties, a seller may never retain title to goods that have already been delivered to the

buyer, and any such retention is always reduced to a mere security interest in the delivered

goods."); Wild West World L.L.C. v. Larson Int'l, Inc. (In re Wild West World, L.L.C), No. 07-

5257, 2008 Bankr. LEXIS 3580, at *11 (Bankr. D. Kan. Oct. 17, 2008) ("Section 2–401(1) negates

the ability to delay passage of title beyond delivery. Any express agreement of the parties or

reservation of title in the seller is limited by § 2–401(1)"); Ivey v. Wilson (In re Payne), No. 05-

2118, 2006 Bankr. LEXIS 4199, at *18-22 (Bankr. M.D.N.C. Dec. 6, 2006) (holding that title

passed despite contracting parties' reservation of title, leaving seller only with a reservation of a

security interest); Crouch Supply Co. v. Piknik Prods. Co., Inc. (In re Piknik Prods. Co., Inc), 346

B.R. 863, 866–67 (Bankr. M.D. Ala. 2006) (holding that retention of title provision in sales

agreement was ineffective to prevent title from passing); Riddle Farm Equip., Inc. v. Boles (In re

Boles), Nos. 03-53196C-7W, 04-6027, 2004 Bankr. LEXIS 2384, at *5–6 (Bankr. M.D.N.C. Oct.

29, 2004) (finding that even with explicit agreement that title was not to pass until financing was

obtained or the purchase price paid, title nevertheless passed by operation of law when tractor was

delivered to defendant, leaving plaintiff, at most, only with a security interest); see also 1 James J.

White, Robert S. Summers & Robert A. Hillman, Uniform Commercial Code § 4:31 (6th ed. 2017).

         It is undisputed that the Bucket 1 Customers' delivery of the Disputed Assets to the Debtors

was complete as of the Petition Date. Accordingly, as a matter of law, title passed of the Disputed

Assets passed to the Debtors prepetition and the Disputed Assets and their proceeds belong to the

Debtors' bankruptcy estates.



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 II.     NO BUCKET 1 CUSTOMER CAN ESTABLISH A BAILMENT

         A.      The Proper Test for Determining Sale or Bailment Is Whether the Identical
                 Article Delivered is to be Returned in the Same or Some Altered Form

         A bailment is defined as the "delivery of personalty for some particular purpose, or on mere

deposit, upon a contract, express or implied, that after the purpose has been fulfilled it shall be

redelivered to the person who delivered it, or otherwise dealt with according to his directions, or

kept until he reclaims it, as the case may be." Monroe Sys. for Bus., Inc. v. Intertrans Corp., 650

So. 2d 72, 75 (Fla. 3d DCA 1994) (quoting Dunham v. State, 192 So. 324, 326 (Fla. 1939)); see

Herrington v. Verrilli, 151 F. Supp. 2d 449, 457 (S.D.N.Y. 2001).

         In distinguishing a bailment from a sale, the Supreme Court explained over a century ago:

         The recognized distinction between bailment and sale is that, when the identical
         article is to be returned in the same or in some altered form, the contract is one of
         bailment, and the title to the property is not changed. On the other hand, when there
         is no obligation to return the specific article, and the receiver is at liberty to return
         another thing of value, he becomes a debtor to make the return, and the title to the
         property is changed. The transaction is a sale.

Sturm v. Boker, 150 U.S. 312, 329 (1893).

         This rule applies even where the thing delivered is changed or transformed in some manner:

         [W]here logs are delivered to be sawed into boards, or leather to be made into shoes,
         rags into paper, olives into oil, grapes into wine, wheat into flour, if the product of
         the identical articles delivered is to be returned to the original owner in a new form,
         it is said to be a bailment, and the title never vests in the manufacturer. If, on the
         other hand, the manufacturer is not bound to return the same wheat or flour or paper,
         but may deliver any other of equal value, it is said to be sale or a loan, and the title
         to the thing delivered vests in the manufacturer. We understand this to be a correct
         exposition of the law.

Powder Company v. Burkhardt, 97 U.S. 110, 116 (1878).

         This type of bailment is referred to as "'a bailment . . . locatio operis faciendi [i.e.] a

bailment where work and labor . . . are to be performed upon the thing delivered to the bailee.'"

B.A. Ballou and Company, Inc. v. Citytrust, 591 A.2d 126, 130 (Conn. 1991) (quoting Douglass



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v. Hart, 131 A. 401, 402 (Conn. 1925)). A bailment of this character is formed when the parties

"enter into a contract, express or implied, or both, by which the bailee engages to perform the

agreed services and return the thing bailed in its altered or repaired form and the bailor in return

for the services of the bailee agrees to pay him the agreed upon compensation." Id.

         Accordingly, in distinguishing bailments from sales, the test of a bailment is that the

identical thing is to be returned in the same or some altered form; if another thing of equal value

is to be returned, the transaction is a sale. See, e.g., Zaki Kulaibee Establishment v. McFliker, 771

F.3d 1301, 1312 n.23 (11th Cir. 2014) ("The rule that where a person receiving property is not

bound to return the identical thing received, but may account therefor in money or other property,

or thing of value, the transaction is a sale, is not applicable to bailments . . . ." (quoting 8 C.J.S.

Bailments § 11 (2005))); C.W.B. Enterprises, Inc. v. K.A.T. Equipment Corp., 449 So. 2d 354,

355 (Fla. 3d DCA 1984) (noting that "every bailment contract contemplates return of the property

bailed, either in the same or altered form" (citing D & D Associates, Inc. v. Sierra Plastics, Inc.,

570 S.W.2d 205, 206 (Tex. Civ. App. 1978))).26

         Courts have applied this test consistently in the refining context, and where the identical

product is not returned, courts routinely conclude the transaction is a sale and not a bailment. See,

e.g., Chisholm v. Eagle Ore Sampling Co., 144 F. 670, 671−72 (8th Cir. 1906) ("[I]t seems clear

to us that the parties acted under the contract as though the transactions were sales of the ore upon

the basis of the assay values of samples"); Welding Metals v. Foothill Capital Corp., No. 3:92 CV

00607 (WWE), 1997 U.S. Dist. LEXIS 7672, *25 (D. Conn. Apr. 14, 1997) ("because there is no


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   One customer has suggested that Canadian law may be applicable to the Ownership Dispute. See ECF No. 465
(7645635 Canada Inc. o/a Ottawa Gold Buyer). However, Canadian bailment law is identical to Florida and New
York law. See Delta Smelting & Refining Co. (Re), [1988] B.C.J. No. 2532, 33 B.C.L.R. (2d) 383, 72 C.B.R. (N.S.)
295, 13 A.C.W.S. (3d) 160 ("A bailment arises only where there is a delivery of property on the basis that the same
property will be returned. Its form may be altered, but it must be the same property. Thus where the material delivered
is mixed with other material, on the basis that an equivalent quantity of the same type of material will be returned, the
contract is one of sale, not bailment."). A true and correct copy of this case is attached hereto.

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evidence that the metal returned to [the customer] was the product of the metal originally delivered,

except 'solely by chance,' the arrangement between [the debtor and the customer] could not

constitute a bailment"); Ballou, 591 A.2d at 130 (rejecting bailment claim where scrap metal was

"commingled" and "there was no understanding or agreement that the precise thing would be

returned"); WESGO Division of GTE Products Corp. v. Harrison (In re Sitkin Smelting &

Refining, Inc.), 648 F.2d 252, 254 (5th Cir. 1981) (finding no bailment where scrap material was

commingled during refining and could not be returned and refiner "agreed to either purchase the

precious metals recovered upon processing or return metals of like kind and quality less a

processing fee"); Sitkin v. R-One Alloys, Inc., No. PB 04-0495, 2006 R.I. Super. LEXIS 25, *8−11

(R.I. Super. Ct. Mar. 13, 2006) (holding that a toll account transaction with a customer was a sale

and not a bailment because the customer could not "claim control over" the raw material once it

entered the refining process and became commingled; because the customer "did not require that

the identical metal contained in the material be returned, a sale resulted"); Delta Smelting &

Refining Co. (Re), [1988] B.C.J. No. 2532, 33 B.C.L.R. (2d) 383, 72 C.B.R. (N.S.) 295, 13

A.C.W.S. (3d) 160 (dismissing bailment claim where "refining process necessarily involved the

intermixing of metal derived from various customers together with Delta's own metal" and "final

product was indistinguishable as to source"); see also General Motors Corp. v. Bristol Indus. Corp.

(In re Bristol Indus. Corp.), No. 2-81-0512, 1981 Bankr. LEXIS 5204, *21−24 (Bankr. D. Conn.

Dec. 14, 1981) ("Here, the finished produced delivered to General Motors after completion of the

conversion process is a new product dissimilar from the original raw scrap shipped to Bristol. The

agreement does not provide for, and the parties did not contemplate, that the delivered scrap metals

would remain separate and identified."), rev'd on other grounds, 690 F.2d 26 (2d Cir. 1982).




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         B.     The Debtors Were Not Required to Return the Identical Article
                Delivered in the Same or Some Altered Form.

         Raw materials delivered by Bucket 1 Customers to the Debtors were commingled and

became unidentifiable once they entered the refining process. The Standard Terms made clear that

precious metals are fungible, and that returnable metal did not pertain to specific, segregated, or

identifiable metal. Bucket 1 Customers were given the option of participating in the Peace of

Mined program which, for each participating customer, would have ensured that its raw material

remained segregated throughout the refining process. However, none of the Bucket 1 Customers

elected to pay the additional fees required to participate in that program. Instead, the Bucket 1

Customers sold raw material to the Debtors and received back cash, "Loco London" metal credit,

a deposit into the customer's toll or pool account, or in rare instances, refined metal of like kind

and quality, in each case, net of processing fees.

         The facts here are strikingly similar to the facts in Sitkin v. R-One Alloys, Inc., 2006 R.I.

Super. LEXIS 25. In that case, the customer provided scrap to the refiner (R-One) for refining and

processing. Id. at *12. Upon delivery, the scrap was weighed and sampled to determine its value.

Id. R-One then commingled the scrap with material received from other customers and refined

the scrap to produce a finished product. Id. In exchange, the customer received either a cash

payment (net of processing fees) or a credit to its toll account that was denominated in quantities

of precious metals. Id. at 12. Based on these facts, the court concluded that the customer could

have had no expectation that the identical metal would be returned. Id. at 13. Instead, the court

reasoned, the customer expected to "receive equal value or an equal amount of gold that was

equivalent to the sampled and quantified amount contained in the pre-refined raw material." Id. at

*12-13. Thus, the court held, the transaction was a sale and not a bailment. Id. at 14.

         Here, like the customer in Sitkin, the Bucket 1 Customers had no expectation that they


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would receive back the identical metal they delivered to the Debtors. The raw material delivered

by the Bucket 1 Customers was commingled with raw materials delivered by other Customers, and

once it entered the refining process, the Bucket 1 Customers had no ability to claim control over

it. The Bucket 1 Customers are entitled to "receive equal value or an equal amount of gold that

was equivalent to the sampled and quantified amount contained in the pre-refined raw material."

Id. at 13. To the extent any customer received back refined metal that was the product of raw

material originally delivered by it to the Debtors, it was "solely by chance." See Ballou, 591 A.2d

at 130; Welding Metals, 1997 U.S. Dist. LEXIS 7672, at *25. Accordingly, the Bucket 1

Customers' bailment claims fail as a matter of law.

    C. None of the Cases Cited by the Bucket 1 Customers Requires a Different Result.

         The cases cited by the Bucket 1 Customers are legally and factually distinguishable. In

Public Service Electric & Gas Co. v. Federal Power Commission, 371 F.2d 1 (3d Cir. 1967), a

utility arranged to have fungible natural gas transported through a pipeline. The court found that

a bailment existed even though the defendant was not required to return the identical gas back to

the utility, reasoning that, because the gas was merely transported and not altered in any manner,

commingling of a fungible commodity did not necessarily defeat an otherwise valid bailment. Id.

at 4-5. The decision is limited to relationships involving the commingling of unaltered fungible

commodities and is inapposite to the current situation. See R-One Alloys, Inc., 2006 R.I. Super.

LEXIS 25, at *11 n.6 (noting that Public Service "stands only for the limited rule that commingling

alone does not defeat a bailment"); Ballou, 591 A.2d at 129 n. 3 (same). While the refined gold

produced by the Debtors is a fungible commodity, the raw materials sold to the Debtors by the

Bucket 1 Customers are not. They are comprised of scrap, doré, and other unrefined materials

containing different amounts of different metals of different quality and value that must be assayed.

The raw materials are then commingled with the raw materials delivered by other customers and

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then refined together. There was no expectation or requirement that the Debtors return the exact

raw materials the Bucket 1 Customers originally delivered or an equal amount of commingled raw

materials. Instead, the Bucket 1 Customers could elect to receive refined metal of a specific quality

and value. Where, as here, an object is altered, transformed, or remanufactured, and the identical

thing is not returned, a bailment cannot exist.

         The facts in In re Enron Corp., No. 01-16034 (AJG), 2003 Bankr. LEXIS 2262 (Bankr.

S.D.N.Y. 2003), are nearly identical to the facts in Public Service. In Enron, the court, relying in

part on Public Service, found that a bailment existed with respect to fungible natural gas where the

gas was stored and not altered in any manner, even though it was commingled, because the parties'

contract made clear that they intended a bailment and not a purchase and sale. Id. at *7–11, *14–

22. Here, the opposite is true. As shown above, the Standard Terms evidence a purchase and sale

contract. The raw materials received from the Bucket 1 Customers were commingled with other

non-fungible raw materials and became unidentifiable. The commingled materials were then

refined and the raw materials could not be traced into any Refined Product or Minted Product.

         In In re Medomak Canning Co., No. BK 75-936, 1977 Bankr. LEXIS 11, at *4 (Bankr. D.

Me. 1977), aff'd, 588 F.2d 818 (1st Cir. 1978), a supplier contracted with the debtor to process

canned baked pork and beans. Under the parties' agreement, the supplier sent ingredients and

packaging and shipping supplies to the debtor who then processed the pork and beans and canned

and shipped them directly to the supplier's customers. Id. at *4, *21. Based on these facts and the

lack of a sale price (an indispensable contract term under the Maine UCC), the court concluded

that no sale was intended or occurred. Id. at *20–21. Here, each Bucket 1 Customer's raw material

was commingled shortly after it arrived at the Debtors' refinery and the Standard Terms provide a




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clear sale price mechanism for metals sold to the Debtors.27

         In Eastman Kodak Co. v. Harrison (In re Sitkin Smelting & Refining, Inc.), 639 F.2d 1213

(5th Cir. 1981), the Fifth Circuit found that a bailment existed where a supplier delivered film

waste to the debtor for processing and extraction of silver. In that case, unlike here, the film waste

was never commingled with the debtor's other inventory. Id. at 1217. It was labeled, segregated

and identified at every stage of the process. Id. By contrast, in WESGO Division of GTE Products

Corp., 648 F.2d at 254, a case involving the same debtor, the Fifth Circuit, in an opinion authored

by the same judge who wrote the majority decision in Kodak, distinguished the contract in Kodak

as "somewhat unique," and affirmed the bankruptcy court's conclusion that the parties' refining

contract was a sale contract rather than a bailment contract. Id. The court found that the parties'

agreement was "essentially a contract for the sale of future goods[,] . . . with payment in the form

of a purchase price established by an agreed-upon formula or in refined metals of like kind and

quality less a processing fee." Id. at 254. The court observed that, "[a]t WESGO's option, Sitkin

agreed to either purchase the precious metals recovered upon processing or return metals of like

kind and quality less a processing fee." Id. at 253. However, "the metals actually recovered from

WESGO's scrap could not be returned, because during the refining process the metals from one

client's scrap were commingled with those from other scrap." Id. The facts in this case are more

like WESGO than Kodak and support a finding that the relationship between the Debtors and the


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  As described above, Customers could request an advance payment on shipments prior to receipt by the Debtors. In
that case, the Standard Terms provide that the Debtors would make an advance to the Customer based on the estimated
elemental content of the lots and/or material provided by the Customer. See Standard Terms at 3, Avila Decl. at Ex
B. Upon payment of the advance, title to the material passed immediately to the Debtors. Id. After final settlement,
the Customer would be responsible for any over-advance to the extent there was a discrepancy between the estimate
and actual value of the metals. Alternatively, if the Customer did not request an advance, payment would be made by
the Debtors to the Customer at settlement, or "fixing." The Standard Terms provided the Customers with two pricing
options: (a) "Spot" pursuant to which the price would be determined by RMC trading personnel based on the metal
price as determined by global markets at the time of fixing or (b) "London PM" pursuant to which the price would be
determined by RMC trading personnel based on the metal price as determined by the London Bullion Market
Association (LBMA) at the time of fixing. Id. at 3-4.

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Bucket 1 Customers is as buyer and seller.

           In In re Bristol Indus. Corp., 690 F.2d at 31, the non-binding concurring opinion suggested

in dicta that a bailment existed where a supplier shipped scrap metal to the debtor for processing

into alloy strips under a tolling arrangement. The concurring opinion, relying on Public Service,

noted that "[w]hen commingling is required by the needs of the trade and is done with the consent

of the parties a bailment is established if that is the intent of the parties." Id. at 30 (emphasis

added). Here, as discussed above, the parties' intent is reflected unambiguously in the Standard

Terms, which reflect purchase and sale transactions, not bailments.28

           Finally, in United States v. Fleet Nat'l Bank (In re Handy and Harman Refining Group,

Inc.), 271 B.R. 732, 737 (Bankr. D. Conn. 2001), in denying summary judgment, the bankruptcy

court found that the parties' contract was ambiguous because it contained "both language of

bailment and sale." As discussed above, the Standard and Terms do not contain any bailment

language.

       D. The Bucket 1 Customers' Other Claims Are Without Merit.

                   1.        Article 7 of the Uniform Commercial Code Is Inapplicable.

           Brilliant Jewelers/MJJ Inc., and Anjay Corp. (together "Brilliant"), allege that certain

"metal reports" indicating "the quantity (i.e., weight and moisture) and grade (i.e., assay)" of raw

materials delivered to the Debtors constitute "documents of title" under Article 7 of the New York

Uniform Commercial Code. See ECF No. 463 ("Brilliant Customer Statement").29 Brilliant



28
   The concurring opinion has been subsequently criticized for its reliance on Public Service and distinguished. R-
One Alloys, Inc., 2006 R.I. Super. LEXIS 25, at *11, n.6 ("The precedent, however, to which the court in Bristol cites
in support of this maxim, is misplaced."); GMAC Bus. Credit L.L.C. v. Ford Motor Co., 100 Fed. App'x 404, 409 (6th
Cir. 2004) ("We respectfully disagree with the concurring judge in [Bristol]"); Ballou, 591 A.2d at 129, n. 3 ("[Public
Service] stands only for the proposition that commingling alone does not defeat a bailment").

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     See also ECF No. 425.



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further alleges that, under Section 7-207 of the UCC:

          [F]ungible goods (i.e., the metals in question here) that are held by a bailee (i.e., Debtor)
          will remain property of the bailor (i.e., Customer) even if they are commingled with other
          fungible goods, provided that is an "identifiable quantity of goods to which the claimant
          claims title," which may be "either identified or . . . fungible portions of an identified mass."

Brilliant Customer Statement at 4.

          This claim fails for at least three reasons. First, Section 7-207, by its terms, applies to

"warehouse receipts." N.Y. UCC § 7-207. A "warehouse receipt" is a "document of title issued

by a person engaged in the business of storing goods for hire." N.Y. UCC § 1-201(42). The

Debtors are not engaged in the business of storing goods for hire; they are refiners of precious

metals.

          Second, even if the Debtors were engaged in the business of storing goods for hire, the

"metal reports" Brilliant relies on could not be warehouse receipts (or any other form of document

of title) because they were not issued by a "bailee" (i.e., a person that "acknowledges possession

of goods and contracts to deliver them"). UCC § 7-102(a)(1); N.Y. UCC § 1-201(16). As

discussed above, each of the so-called metal reports is subject to the Standard Terms, which make

clear that the transactions with Brilliant were for the purchase and sale of raw materials.

          Finally, even if Brilliant could overcome these threshold issues, Section 7-207 would have

no applicability here because there are no "fungible portions of an identifiable mass." The raw

material delivered by Brilliant, like that delivered by all other Bucket 1 Customers, was not

fungible. The raw materials were commingled during the refining process with other customer

lots and remaining materials in the refining machinery and the product was not identifiable to any

particular customer lot. Quite simply, the process of refining metals from nonfungible raw

materials is not akin to the delivery of fungible commodities to a warehouse or mere storage (such

as the case of grain delivered by a farmer to an elevator), the type of bailor/bailee relationship that


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Section 7-207 is meant to govern.

                   2.      The Debtors Are Not Estopped from Claiming Title to the Raw
                           Material

           Five Bucket 1 Customers allege that, under Florida law, the Debtors are estopped from

claiming title to the raw materials they delivered to the Debtors.30 Under Florida law, to prove

estoppel, a party must establish:

           (1) a representation by the party estopped to the party claiming estoppel as to some material
           fact, which representation is contrary to the condition of affairs later asserted by the
           estopped party;

           (2) a reliance upon this representation by the party claiming the estoppel; and

           (3) a change in the position of the party claiming the estoppel to his detriment, caused by
           the representation and his reliance thereon.

Pinnacle Port Cmty. Ass'n v. Orenstein, 872 F.2d 1536, 1542 (11th Cir. 1989). The Bucket 1

Customers cannot establish any of these elements.

           The Standard Terms make clear (and have always made clear) that the transactions

conducted pursuant thereto were for the purchase and sale of raw materials. The Debtors have

never taken any other position. Accordingly, the Bucket 1 Customers have not and cannot identify

a representation made by the Debtors that is contrary to the Debtors' current position. Nor, can the

Bucket 1 Customers allege reliance or a detrimental change in position. As a result, the Debtors

cannot be estopped from claiming title to the raw materials they delivered to the Debtors.

                   3.      The Bucket 1 Customers' Conversion Claims Fail as a Matter of Law

           Two Bucket 1 Customers assert conversion claims.31 "Under Florida law, '[a] conversion

consists of an act in derogation of the plaintiff's possessory rights, and any wrongful exercise or



30
  See ECF Nos. 475 (Deb Schott, Inc.), 476 (Mid-States Recycling, Inc.), 477 (General Refining and Smelting Corp.),
481 (Noble Metal Services, Inc.), and 479 (PPS, Inc. d/b/a Braswell & Son).
31
     ECF No. 449 (Midwest Refineries, LLC), 466 (The Gold Refinery, LLC / Norman Bean).

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assumption of authority over another's goods, depriving him of the possession, permanently or for

an indefinite time, is a conversion.'" Palm Beach Golf Ctr.-Boca, Inc. v. John G. Sarris, D.D.S.,

P.A., 781 F.3d 1245, 1258 (11th Cir. 2015) (quoting Star Fruit Co. v. Eagle Lake Growers, Inc.,

33 So. 2d 858, 860 (Fla. 1948)). However, as discussed more fully above, title to the raw materials

delivered by these two Bucket 1 Customers passed to the Debtors upon delivery. Accordingly, no

claim for conversion can lie.

                4.       There Is No Basis to Impose a Constructive Trust

         Finally, nine Bucket 1 Customers seek imposition of a constructive trust on the raw

material each delivered to the Debtors and the proceeds derived from the sale of any resulting

refined precious metals.32 The remedy of a constructive trust requires the Customers to establish,

by clear and convincing evidence, the following four elements: (i) a promise, express or implied;

(ii) a transfer of property and reliance thereon; (iii) a confidential relationship; and (iv) unjust

enrichment. See, e.g., Castetter v. Henderson, 113 So. 3d 153, 155 (Fla. 5th DCA 2013);

Superintendent of Ins. v. Ochs (In re First Cent. Fin. Corp.), 377 F.3d 209, 212 (2d Cir. 2004).

However, under both Florida and New York law, a party may not pursue a constructive trust – a

quasi-contractual remedy– where there is an agreement governing the parties' relationship. See,

e.g., Diamond "S" Dev. Corp. v. Mercantile Bank, 989 So. 2d 696, 697 (Fla. 1st DCA 2008)

(affirming dismissal of request for imposition of a constructive trust where there was an express

contract between the parties governing the subject matter); In re First Cent. Fin. Corp., 377 F.3d

at 212 (holding that the existence of a controlling agreement precludes imposition of a constructive




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  See ECF Nos. 396 (Design Gold Group, Inc.), 441 (Cyber-Fox Trading Inc.), 444 (GEIB Refining Corp.), 445
(Music City Group, LLC), 449 (Midwest Refineries, LLC), 465 (7645635 Canada Inc. o/a Ottowa Gold Buyer), 477
(General Refining and Smelting Corporation), 478 (Alex Morningstar Corp. d/b/a Morningstar's), and 832 (Auris
Noble, LLC).



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trust); Tekinsight.Com, Inc. v. Stylesite Mktg., Inc. (In re Stylesite Mktg., Inc.), 253 B.R. 503, 508

(Bankr. S.D.N.Y. 2000) (dismissing constructive trust claim where relationship was governed by

contract).

         As discussed more fully above, each of the Bucket 1 Customers is bound by the Standard

Terms, which clearly and unambiguously provides for the purchase and sale of the raw material.

Because the Bucket 1 Customers' claims are governed by the Standard Terms, their attempts to

impose a constructive trust fail as a matter of law.

                                          CONCLUSION

         WHEREFORE, for the reasons set forth herein, the Debtors and the Senior Lenders

respectfully request that the Court (i) find that: (a) the Disputed Assets constitute property of the

Debtors' bankruptcy estates; and (b) the Bucket 1 Customers lack any ownership interests in the

Disputed Assets; (ii) dismiss all Bucket 1 Claims with prejudice; and (iii) grant such other and

further relief as the Court deems just and proper.




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 Dated: New York, New York                     Respectfully submitted,
        April 19, 2019

 LUSKIN, STERN & EISLER LLP                    AKERMAN LLP

 /s/ Michael Luskin                            /s/ John E. Mitchell
 Michael Luskin                                John E. Mitchell (Admitted Pro Hac)
 Stephan E. Hornung                            Yelena Archiyan (Admitted in New York)
 Alex Talesnick                                2001 Ross Avenue, Suite 3600
 Eleven Times Square                           Dallas, TX 75201
 New York, New York 10036                      Tel.: (214) 720-4300
 Tel.: (212) 597-8200                          Fax: (214) 981-9339
 Fax: (212) 974-3205
                                               Andrea S. Hartley (Admitted Pro Hac)
 Counsel for the Senior Lenders                Joanne Gelfand (Admitted in New York)
                                               Katherine C. Fackler (Admitted Pro Hac)
                                               98 Southeast Seventh Street, Suite 1100
                                               Miami, FL 33131
                                               Tel.: (305) 374-5600
                                               Fax: (305) 374-5095

                                               Counsel for Debtors and Debtors-in-Possession




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                Delta Smelting & Refining Co. (Re)
  [1988] B.C.J. No. 2532, 33 B.C.L.R. (2d) 383, 72 C.B.R. (N.S.) 295
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                       Delta Smelting & Refining Co. (Re), [1988] B.C.J. No. 2532
                                            British Columbia and Yukon Judgments


                                            British Columbia Supreme Court
                                               Vancouver, British Columbia
                                                    McLachlin C.J.S.C.
                                             Heard: November 7 and 8, 1988
                                             Judgment: December 12, 1988
                                      Vancouver Registry No. 01982 and 660/83

[1988] B.C.J. No. 2532 | 33 B.C.L.R. (2d) 383 | 72 C.B.R. (N.S.) 295 | 13 A.C.W.S. (3d) 160
In the Matter of the Bankruptcy of Delta Smelting & Refining Co. Ltd.
Case Summary

Bankruptcy — Priorities among creditors — Bankrupt metal refiner doing business with suppliers
in five different ways — None of five classes of creditors having direct proprietary interest — All
creditors receiving pro rata distribution.


  This was an application by five classes of creditors for a share in the proceeds of certain precious metals held by the debtor's
  receiver. All claimant creditors had supplied the bankrupt with precious metals. The bankrupt had dealt with each of the five
  creditors differently: pay by cheque; credit accounts receivable; hold on deposit; return of metal; and, consignment metal
  creditors. Once the bankrupt had received the metals from the various creditors, it was refined and combined so that the
  metals supplied were indistinguishable from each other.


  HELD: The application was allowed.
   There was no legal basis upon which to distinguish between the various classes of creditors and consequently, the proceeds
  from the metals should be distributed pro rata between them. The pay by cheque and credit accounts receivable claimants
  both clearly had contracts for the sale of goods. The property had passed to the bankrupt and these claimants had no direct
  proprietary interest in the fund. The transaction between the hold on deposit claimant and the bankrupt was properly
  characterized as a loan. The property therefore also passed to the bankrupt and the creditor had no direct proprietary interest
  in the fund. With respect to the return of metal and consignment creditors, their characterization of the transaction as either a
  bailment or creating a trust was not made out. The metals supplied by them were intermingled with the metals supplied by
  others and therefore no bailment could exist. With respect to the claim that a trust was created, the bankrupt did not have a
  fiduciary duty to the claimant so as to give rise to a trust relationship. In any event, a trust was not enforceable if the
  property was not traceable.




Counsel for the Consignment Metal Claimants: G. Holeksa. Counsel for the Return of Metal Claimants:
R. Dresser. Counsel for Trustee, Pannell, Kerr, MacGillivray Inc.: T.J. Maledy. Counsel for the Pay by
Cheque and Credit Accounts Receivable Claimants: Ellen M. McDonald. Counsel for the Hold on Deposit
Claimants: J.I. McLean.
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 McLACHLIN C.J.S.C.



    I. Introduction
   Delta Smelting & Refining Co. Ltd., now bankrupt carried on the business of refining and storing
precious metal. Unfortunately as matters turned out, it used some of the metal in its possession for
speculation on the commodities market. The crash of the silver market in 1981 plunged Delta into
financial difficulty from which it never recovered.
   The Trustee in Bankruptcy recovered $543,738 worth of precious metal, including $541,326 in gold
and silver, which he still retains. By order of this Court, a receiver was appointed to hold the metal, and
the ownership of the metal was directed to be tried by way of interpleader.
   Five classes of creditors seek to share the proceeds of the metal held by the receiver. They represent the
creditors who had dealings with Delta in metal and ore. The five classes of claimants arise from the five
different ways Delta recorded these transactions. Upon delivery to Delta, each customer's material was
tagged by a receipt recording customer information. The official receipt contained four boxes which could
be checked off to indicate classification of the transaction as one of accounts receivable, pay by cheque,
hold on deposit or return of metal. The document also contained space for special instructions, which was
used, among other things, to record the fifth category, consignment transactions.
   Initially, each customer's material was kept separate and discrete. After being treated to remove
impurities, the resulting product was tested to determine the percentage of precious metal. The assay
results were recorded on the receipt, the pricing formula determined, and the customer's credit calculated.
  Up to this point each customer's material could be identified. But this changed in the refining process
which pooled material from various customers together with metal Delta considered its own.
  Gold and silver were refined by different processes. Gold was refined in small batches, normally
representing the accumulation of metal over one week. The silver batch process continued for
approximately four to six months. During the course of the batch, silver was continually added and
removed from the batch.
   At the end of a batch, the refined bars of gold or silver were placed in the vault. No attempt was made
by Delta to identify proportions of a batch as being attributable to any particular customer. Metal was
withdrawn from the vault for Delta's own purposes (including trading and speculation on the metal
market) as well as for return or sale to customers, generally on a "last-in, first-out" basis. As a
consequence of this policy none of the metal in the vault is specifically identifiable as coming from any of
the particular claimants in this proceeding.
   The metal which the receiver now holds came in part from the vault and in part from "clean-up".
"clean-up metal" is metal which the Trustee recovered after bankruptcy by cleaning out furnaces and
ducts, burning carpets, re-running slag, collecting drillings and collecting metal content from the silver
bath solutions.

   II. The Issue
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   There are five categories of claimants to the Fund: Pay by Cheque ("PBC"), Credit Accounts
Receivable ("CAR"), Hold on Deposit ("HOD"), Return of Metal ("ROM") and Consignment Metal
Creditors (CC) . The main issue is what interest if any each class of claimant possesses in the metal held
by the Trustee. On the answer to that question hangs the respective entitlement of the five categories of
claimants.

   III. Discussion
   A. The "Pay by Cheque" (PBC) and "Credit Accounts Receivable Claimants" (CAR)
   The Pay by Cheque and Credit Accounts Receivable claimants may be treated together. In both cases,
their transactions with Delta involved the sale of material containing a content of precious metal, for a
price to be determined at a later date based on the results of an assay.
  The contracts were clearly for the sale of goods, conveying property in the metal to Delta. That
conveyance occurred when the contract was made: s. 23(2) of the Sale of Goods Act. Property in the
metal containing materials having passed to Delta, the PBC and CAR claimants can claim no direct
proprietary interest in the Fund.

B. The "Hold on Deposit" Creditors
   The Hold on Deposit creditors assert that under the terms of their contract with Delta property in the
metal was retained in the depositor and did not pass to Delta. These creditors each purchased a "hold on
deposit" contract for gold or silver from Delta. At the end of the contract they were to receive the metal
back, together with interest. Although the contract purported to reserve property in the depositor, Delta
was free to use, deal in or trade the metal as it saw fit for a certain period of time, and was not required to
account to the depositor for the type of use to which the metal was put nor for any profits made. These
facts are inconsistent with either bailment or trust, which would permit the property to remain in the
creditors. The correct legal characterization is that the customers loaned their metal to Delta, at which
time property passed to Delta.
  The position of these creditors is indistinguishable from that of depositors at a bank. The relationship
between banker and depositing customer is viewed as a contract of loan, under which property in the
money loaned passes to the bank. Baxter, in The Law of Banking. (3d) 1981, at p. 2 states:

       ... But the ordinary business meeting of a bank deposit is not to create the banker a bailee, an
       agent, or a trustee for the money. It is not the purpose that the identical res should be returned, nor
       that the banker shall account to the customer for any profit made by the use of the money, or be
       subject to the law of relating to trusts and trustees in the manner in which he invests or otherwise
       employs the money. The basic meaning of a bank deposit is that it is a loan of money by the
       depositor to the bank. When the money is lodged it becomes the property of the bank to use as it
       sees fit, within the score of its legal powers. The customer thereafter has no juus in re in the
       money, and the bank is under no duty to account to the customer for the way in which it uses the
       money or for any profits earned upon it. The bank's main obligation is to repay the deposit
       according to the contract. Repayment means return of an equivalent amount of currency. It is
       misleading to regard the customer as having any rights of property in money after it has been
       deposited and has passed into the hands of the Bank.




                                                                                          (Emphasis added)
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  It follows that the HOD claimants can claim no proprietary interest in the property of the metal
remaining in the Fund.

    C. The "Return of Metal" and "Consignment" Creditors
  The return of metal and consignment creditors delivered metal to Delta for refining. After refining,
Delta was obliged to return either the specific quantity of purified metal contained within the material
delivered, or alternatively, a proportionate share of the specific bulk of pure metal into which the raw
material was refined, less charges for the refining process.
  These creditors assert that property in the metal which they delivered to Delta never passed to Delta.
Delta obtained possession of the material, they contend, only so far as necessary to refine it to a pure
product. The relationship, they submit, was one of bailment or trust. If this submission is correct, the
ROM and CC claimants would be entitled to priority to the metal held by the receiver over the PCB, CAR
and HOD creditors.
   A bailment arises only where there is a delivery of property on the basis that the same property will be
returned. Its form may be altered, but it must be the same property. Thus where the material delivered is
mixed with other material, on the basis that an equivalent quantity of the same type of material will be
returned, the contract is one of sale, not bailment: Crawford v. Kingston and Johnston (1952) O.R. 714;
South Australian Ins. Co. v. Randell, [1886] 3 L.R.P.C. 101. (The facts are distinguishable from those in
Busse v. Edmonton Grain & Hav Co. Ltd., [1932] 1 W.W.R. 296 (B.C.c.A.), where no intermixing was
contemplated and there was a right to return the identical grain and, the grain was not to be consumed).
   These principles negate the claim that Delta was merely a bailee with property remaining with the
creditors. The refining process necessarily involved the intermixing of metal derived from various
customers together with Delta's own metal. The final product was indistinguishable as to source, and was
treated as such in Delta's accounting and inventory systems. All the ROM and CC customers bargained
for was the return of a certain amount of equivalent metal in kind - not the same property they turned over
to Delta.
  In the alternative, the Return of Metal and Consignment creditors claim metal from the Fund on the
ground that it is impressed by a trust in their favour.
  In order for a trust to arise, Delta must be found to have stood in the position of fiduciary to the ROM
and CC creditors (Waters, The Law of Trusts, (2ed) (1984) at p. 10). The concept of fiduciary duty does
not lend itself to a simple definition because of the diversity of situations in which such a relationship may
be found. As Dickson, J. (as he then was) stated in Guerin v. The Queen (1984) 13 D.L.R. (4th) at p. 341:

       It is the nature of the relationship, not the specific category of action involved that gives rise to the
       fiduciary duty. The categories of fiduciary, like those of negligence should not be considered
       closed: see Laskin v. Bache & Co. Inc. (1971), 23 D.L.R. (3d) 785 at 392, [1972] 1 O.R. 465
       (C.A.); Goldex Mines Ltd. v. Revill et al. (1974), 54 D.L.R. (3d) 672 at 680, 7 O.R. 216 (C.A.) at
       224.
  Although it may be impossible to achieve a definition of fiduciary duty which is at once precise and
universally applicable, certain concepts are fundamental in determining whether a fiduciary relationship
exists in a given case. First, a fiduciary has a duty to act in the best interests of another, and not in his
own: (Midcon Oil & Gas v. New Br. Dom. Oil Co. (1958), 12 D.L.R. (2d) 705 (S.C.C.); Evans v.
Anderson [1977] 2 W.W.R. 385 (Alta. C.A.); Can. Aero. Service Ltd. v. O'Malley (1974), 40 D.L.R. (3d)
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371 (S.C.C.)). Second, the term "fiduciary" imports a duty of loyalty: Waters, The Law of Trusts in
Canada, (2ed) (1984) at 33; see also Shepherd, The Law of Fiduciaries (1981), at p. 45 et seq. Third, a
fiduciary relationship involves scope for the fiduciary's unilateral exercise of power or discretion effecting
the beneficiary's legal or practical interest, as a consequence of which the beneficiary is peculiarly
vulnerable to or at the mercy of the fiduciary: see Frame v. Smith (1987) 42 D.L.R. (4th) 81, per Wilson,
J. dissenting.
   Finally, an arms-length commercial contractual relationship generally does not give rise to a fiduciary
duty. Although certain categories of contractual relationship have historically been regarded in law as
being of fiduciary character (such as solicitor/client, principal/agent, partner-to-partner, etc.), the courts
have not ordinarily found a fiduciary relationship between businessmen who enter into cormercial
dealings at arms length, even if the contract creates continuing obligations between them, including a duty
to act in a certain manner: Jirna Ltd. v. Mister Donut of Canada Ltd. (1972), 22 D.L.R. (3d) 639 (Ont.
C.A.), aff'd (1973) 40 D.L.R. (3d) 303 (S.C.C); Hospital Products231 Ltd. v. U.S. Surgical Corporation
(1984), 58 A.L.J.R. 587 (High Ct. of Aust.); International Corona Resources Ltd. v. Lac Minerals Ltd.
(1987), 62 O.R. (2d) 1. Gibbs, C.J. Australia in Hospital Products, supra, at p. 597 put this proposition as
follows:

       On the other hand, the fact that the arrangement between the parties was of a purely commercial
       kind and that they had dealt at arm's length and on an equal footing has consistently been regarded
       by the court as important, if not decisive, in indicating no fiduciary duty arose.
   In the case at bar, Delta gave no undertaking to act in the best interests of the creditors who delivered
metal to it for refining. It owed them no duty of loyalty. It was entitled to use the metal as it chose without
accounting to the creditors, its only obligation being to ultimately deliver a specific quantity of metal to
them pursuant to its contract with them. Delta's relationship with these creditors was defined by an arm's
length commercial contract. The relationship did not fall within any of the classes of special contracts to
which the law assigns a higher duty. The relationship was simply one of contract for the sale or exchange
of goods. Delta assumed no higher duty than the commercial duty set out in the contract.
   I conclude that Delta was not the fiduciary of the Return of Metal and Consignment creditors, and that
their claim in trust must fail. But if were wrong in that conclusion there is a further bar to the claim of the
Return of Metal and Consignment creditors. For a trust to be enforceable, the property originally
impressed with the trust must be traceable. Courts of equity have always been acute to distinguish trust
funds and will trace them however much their character or nature may be altered, provided the property
which is claimed can be clearly identified as the fruit of the trust property. Conversely, no trust can be
enforced if the trust property cannot be identified or traced into some specific fund or thing: Re: C.A.
Macdonald and Company Limited (in Bankruptcy (1958), 26 W.W.R. 116 at p. 12 (Alta. S.C.). When a
beneficiary seeks to trace his property, he must be able to follow step by step the course of the property
through whatever transformation occurred: Br. Can. Securities Ltd. v. Martin, [1917] 1 W.W.R. 1313, 27
Man. R. 423. It is essential that he show that his property is actually or notionally part of the property he
seeks to trace. Thus if he seeks to trace funds into purchases, the claimant must show that his monies were
in the account when the purchase was made: Br. Can. Securities v. Martin, supra.
   The return of metal and consignment creditors can establish that their metal went into Delta's
operations. Thereafter, however, their metal lost its identity. it is impossible to say that the metal which
the receiver now holds - the bars found in the vault and the proceeds of clean-up contain, actually or
notionally, any particular customer's metal. It is equally possible that a particular customer's metal was
incorporated in bars that were sold or used in speculation, as in the bars which remained in the vault. In
short, the customers who brought their metal to Delta for refining cannot trace their metal to the metal
which the receiver now holds. It follows that the principles of trust law cannot assist it.
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    IV. Conclusion
   None of the five categories of claimants are able to assert a proprietory right in the metal held by the
receiver. There is thus no legal basis on which to distinguish the various categories of claimants from each
other. The fund of precious metal on hand should be distributed o rata amongst the five categories of
claimants.

McLACHLIN C.J.S.C.



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